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    "lIhAO 2491 (CASD) (Rev. 12111) Judgment in a Criminal Case with Probation
               Sheet I                                                                                                                     .-     \
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                                                                                                                                            ,
                                              UNITED STATES DISTRICT COURT                                                                      . ""

                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                       JUDGMENT IN A CRIMINAL CASE                                    111
                                         v.                                         (For Offenses Committed On or After November I, 1987)

                                                                                    Case Number: 14CR1765·BAS
                                                                                    ROLAND J. HADDAD
                                                                                    Defendant's Attorney
    REGISTRATION NO. 47342298

    o
     THE DEFENDANT:
     181 pleaded guilty to count(s) TWO (2) OF THE INDICTMENT

     o    was found guilty on count(s) _ _ _ _ _ _ _ _ _-,-......-:-_ _ _ _~__. . . ; . - . - - - - - - - - - - - - - - ­
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                   Count
     Title & Section                   Nature of Offense                                                          Number(s)
21 USC 841(a)(I) AND 18                POSSESSION WITH INTENT TO DISTRIBUTE A CONtROLLED                                                               2
USC 2                                  SUBSTANCE AND AIDING AND ABETTING




        The defendant is sentenced as provided in pages 2 through .4 . of this judgment. The sentence is imposed pursuant
 to the Sentencing Refonn Act of 1984.                  .
  o   The defendant has been found not guilty on count(s)
  o   Count(s)__________________________--is
                                                          -------~----~----------------------------
                                                                                         0
                                                                           areO dismissed on the motion of the United States.
  181 Assessment: $100

  181 See fine page                                  o Forfeiture pursuant to order filed __________ , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
  or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
  defendant shall notify the court and United States Attorney of any material chimgein the defendant's economic circumstances.




                                                                                 UNItED STATES DISTRICT JUDGE

                                                                                                                                                   14CR1765-BAS
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AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case with Probation
           Sheet 2 -- Probation
                                                                                                              Judgment-Page    --L- of       _ ......4:..-_ _
DEFENDANT: SAM MROKY (1.)                                                                               D
CASE NUMBER: 14CR1765-BAS
                                                                   PROBATION
The defendant is hereby sentenced to probation for a term of:
 THREE (3) YEARS.

The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
        The defendant shall not possess a IlI'earm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the col\ection of a DNA sample from the defendant, pursuantto section 3 of the DNA Analysis
        Backlog Elimination Act of2000,pursuant to 18 USC sections 3563(a)(7)and 3583(d). ...                .      .
        The detendant shall comply with tlle requirements of the SexOffen~erRegistration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
        by the probation officer, the Bureau of Prisons; or any state sex offender registration agency in 'which he or she resides, works, is a student, or
        was convicted ofa qualifying offense. (Check if applicable.)               .
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments aheetof this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                        ST ANDARD CONDITIONS OF SUPERVISION
   I)     the defendant shall not leave the judicial district without the permission of the court Or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularlyat a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use ofalc.ohol and shall not purchase, possess, use, distribute, or administer any controlled
          substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed,or administered;
   9)     the defendant shall not associate with any persons engaged.in criminal activitY,and shall not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;                                 .
  10)     the defendant shall permit a probation officer to visit him or ber at any time at home or elsewhere and shall permit confiscation of
          any contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
          officer;                                                    . .
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law. enforcement agency without the
          permission of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties of risks that. may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.                   .



                                                                                                                                          14CR1765-BAS
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AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

DEFENDANT:            SAM MROKY (2)                                                        Judgment - Page 3 of 4
CASE NUMBER:          14CR1765-BAS

                                SPECIAL CONDITIONS OF SUPERVISION

     1. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
        and counseling, as directed by the probation officer. Allow for reciprocal release of information between
        the probation officer and the treatment provider. May be required to contribute to the costs of services
        rendered in an amount to be determined by the probation officer, based on ability to pay.


     2. Submit your person, property, residence, office or vehicle to a search, conducted by a United States
        Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
        contraband or evidence of a violation of a condition of release; failure to submit to a search may be
        grounds for revocation; the defendant shall warn any other residents that the premises may be subject to
        searches pursuant to this condition.

     3. Provide complete disclosure of personal and business financial records to the probation officer as
        requested.


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                                                                                                  14CR1765-BAS
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A0245S      Judgment in Criminal Case
            Sheet 5 -- Criminal Monetary Penalties

                                                                                                     Judgment - Page _ _4__ of      4
DEFENDANT; SAM MROKY (2)                                                                       II
CASE NUMBER: 14CR1765-BAS

                                                                     FINE

         The defendant shall pay a fine in the amount of _ _ _ _$_1,_O_OO_ _ _ _un,to the United States of America.




          This sum shall be paid __ immediately.
                                  )C as follows:


          Pay a fine in the amount of $1 ,000 through the Clerk, U.S. District Court. Payment of fine shall be forthwith.
          The Defendant shall pay the fine during his probation at the rate of $1 00 per month. These payment schedules do
          not foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
          fine judgment at any time.                       .    ..    .

          Until the fine has been paid. the Defendant shall notify the Clerk of Court andthe United States Attorney's Office
          of any change in the Defendant's mailing orresidence address, no later than thirty (30) days after the change
          occurs.


          The Court has determined that the defendant _d_o_e_s_ _ have the ability to pay iliterest.It is ordered that:

   _       The interest requirement is waived.


            The interest is modified as follows:




                                                                                                      14CR 1765-BAS
